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4
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5    Farah Sarwar
6
                              UNITED STATES DISTRICT COURT
7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                                CASE NO. 2:13-CR-00354 MCE
     UNITED STATES OF AMERICA,
10                                               STIPULATION AND ORDER
                  Plaintiff,                     CONTINUING STATUS
11                                               CONFERENCE; FINDING OF
           vs.                                   EXCLUDABLE TIME
12
     FARAH SARWAR, et. al.,                      Date: April 9, 2015
13                                               Time: 9:00 a.m.
                  Defendants.                    Court: Hon. Morrison C.
14
                                                 England, Jr.
15

16
                                     STIPULATION
17
           Plaintiff, United States of America, through its counsel of
18
     record, and defendants, Farah Sarwar and Hussain Shahzad, by and
19

20   through their counsel of record, hereby stipulate and agree as

21   follows:
22
           1. A status conference is currently set for April 9, 2015 at
23
               9:00 a.m.
24
           2. By this stipulation, the above-named defendants now move
25

26             to continue the status Conference to May 21, 2015 at 9:00

27             a.m., and to exclude time between April 9, 2015 to May
28

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               21, 2015 under Local Codes T2 and T4.       Plaintiff does not
1

2              oppose this request.

3          3. The basis upon which the parties agree to this proposed
4
               continuance of the status conference is as follows:
5
           a. The government has produced discovery which to date
6
               includes discovery marked Bates Number 00229-14878.           The
7

8              discovery is not numbered in a continuous numerical

9              order, but it does contain audio files. Further, the
10
               government has provided information regarding
11
               approximately 13 search warrants that are relevant to the
12
               case.    All of this discovery has been either produced
13

14
               directly to counsel and/or made available.

15         b. Counsel for the defendants are still in the process of
16             investigating the case, and counsel for Ms. Sarwar is
17
               currently set for trial assignment on a homicide case on
18
               April 9.
19

20
           c. Counsel for the defendants believe that failure to grant

21             the above-requested continuance would deny their clients
22             the reasonable time necessary for effective preparation,
23
               taking into account the exercise of due diligence.
24
           d. Plaintiff does not object to the continuance.
25

26
           e. Based on the above-stated findings, the ends of justice

27             served by continuing the status conference as requested

28             outweigh the best interest of the public and the
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               defendants in a trial within the original date prescribed
1

2              by the Speedy Trial Act.

3          f. For the purpose of computing time under the Speedy Trial
4
               Act, 16 U.S.C. § 3161, et seq., within which trial must
5
               commence, the time period from April 9, 2015 to May 21,
6
               2015 inclusive, is deemed excludable pursuant to 18
7

8              U.S.C. § 3161(h)(7)(a), B (iv) [Local Code T4] and Local

9              Code T2 because it results from a continuance by the
10
               Court at the defendant’s request on the basis of the
11
               Court’s finding that the ends of justice served by taking
12
               such action outweigh the best interest of the public and
13

14
               the defendant in a speedy trial.

15         4. Nothing in this stipulation and order shall preclude a
16             finding that other provisions of the Speedy Trial Act
17
               dictate that additional time periods are excludable from
18
               the period within which a trial must commence.
19

20
           5. Finally, Christopher Haydn-Myer has been authorized by

21             counsel to sign this stipulation on their behalf.
22   IT IS SO STIPULATED.
23
     DATED: April 6, 2015               BENJAMIN B. WAGNER
24                                      Unites States Attorney
25                                      /s/ Christopher Haydn-Myer for
26
                                        Christiaan Highsmith
                                        Assistant United States Attorney
27                                      for Plaintiff United States

28   ///
                                         - 3 –
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     DATED: April 6, 2015
1

2                                        /s/ Christopher Haydn-Myer for
                                         Michael Hansen
3                                        Attorney for Hussain Shahzad
4

5    DATED: April 6, 2015                HAYDN-MYER LAW OFFICE

6                                        /s/ Christopher Haydn-Myer
                                         Christopher Haydn-Myer
7
                                         Attorney for Farah Sarwar
8

9
                                         ORDER
10

11
           IT IS SO ORDERED.
12
     Dated:    April 7, 2015
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